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1    Brian R. Chavez-Ochoa (CA Bar No. 190289)
     brianr@chavezochoalaw.com
2    Chavez-Ochoa Law Offices, Inc.
3    4 Jean Street, Suite 4
     Valley Springs, CA 95252
4    Telephone: (209) 772-3013

5    Johannes Widmalm-Delphonse (VA Bar No. 96040)*
6    jwidmalmdelphonse@adflegal.org
     Alliance Defending Freedom
7    44180 Riverside Parkway
     Lansdowne, VA 20176
8    Telephone: (571) 707-4655
9
     Jonathan A. Scruggs (AZ Bar No. 030505)*
10   jscruggs@ADFlegal.org
     Alliance Defending Freedom
11   15100 N. 90th Street
12   Scottsdale, AZ 85260
     Telephone: (480) 444-0020
13
     Counsel for Plaintiffs The Babylon Bee, LLC
14   and Kelly Chang Rickert
15
     *Admitted pro hac vice
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1                          UNITED STATES DISTRICT COURT

2                   FOR THE EASTERN DISTRICT OF CALIFORNIA

3     Christoper Kohls,                            Case No. 2:24-cv-02527-JAM-CKD
4
                                 Plaintiff,        Stipulation re Summary
5     v.                                           Judgment Briefing Schedule
6     Rob Bonta, et al.,
7                                                  Judge: John A. Mendez
                                 Defendants.
8

9     The Babylon Bee, LLC, et al.

10                               Plaintiffs,
      v.
11

12    Rob Bonta, et al.

13                               Defendants.
14

15
                                        STIPULATION
16
           The parties stipulate to the following summary-judgment briefing schedule:
17
           1.     The parties agree to proceed immediately to summary judgment
18
     without the need for any discovery at this time. In the event that the parties
19
     determine that discovery is needed after the cross-motions are filed, the parties
20
     shall discuss and agree to a limited period of discovery and accompanying extension
21
     of time to file any remaining briefs.
22
           2.     The parties agree to the following briefing schedule:
23
                  a. January 15, 2025 – Plaintiffs’ opening briefs for summary
24                   judgment, with a limit of 30 pages
25
                  b. March 12, 2025 – Defendants’ consolidated opposition and cross-
26                   motion for summary judgment, with a limit of 55 pages

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           Case 2:24-cv-02527-JAM-CKD Document 23 Filed 11/13/24 Page 3 of 7


1                 c. April 11, 2025 – Plaintiffs’ consolidated opposition and reply briefs,
                     with a limit of 30 pages
2
                  d. May 2, 2025 – Defendants’ reply brief, with a limit of 15 pages
3

4          3.     The parties request the proposed timeline given the upcoming holiday

5    schedule; counsels’ outstanding deadlines in other matters, including appellate

6    briefs in In re Broiler Chicken Antitrust Litig., No. 24-2387 (7th Cir.), Leroy v.

7    Livingston Manor Cent. Sch. Dist., No. 24-1241 (2d Cir.), and In re Wawa, Inc. Data

8    Sec. Litig., No. 24-1874 (3d Cir.); Plaintiffs’ desire to coordinate their separate

9    summary judgment motions; and the complexity of responding to two summary

10   judgment motions in one consolidated cross-motion and response.

11         4.     This schedule provides extra pages for Defendants responding to two

12   (2) briefs, more generous than the 10% allowance the Ninth Circuit provides for

13   parties responding to two (2) briefs. 9th Cir. R. 32-2(b).

14         5.     The parties agree that the Court may move to summary judgment

15   without Defendants first filing an answer. See, e.g., Marquez v. Cable One, Inc., 463

16   F.3d 1118, 1120 (10th Cir. 2006).

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         Case 2:24-cv-02527-JAM-CKD Document 23 Filed 11/13/24 Page 4 of 7


1         DATED:       November 13, 2024

2

3    s/ Johannes Widmalm-Delphonse             s/ Kristin A. Liska
     Johannes Widmalm-Delphonse                (authorized 11.13.24)
4    VA Bar No. 96040
5    Alliance Defending Freedom                Rob Bonta
     44180 Riverside Parkway                   Attorney General of California
6    Lansdowne, VA 20176                       Anya M. Binsacca
     571-707-4655                              Supervising Deputy Attorney General
7    jwidmalmdelphonse@adflegal.org            Kristin A. Liska
8                                              Deputy Attorney General
     Jonathan A. Scruggs                       State Bar No. 315994
9    AZ Bar No. 030505                         455 Golden Gate Avenue, Suite 11000
     Alliance Defending Freedom                San Francisco, CA 94102-7004
10   15100 N. 90th Street                      Telephone: (415) 510-3916
11   Scottsdale, AZ 85260                      Fax: (415) 703-5480
     480-444-0020                              E-mail: Kristin.Liska@doj.ca.gov
12   jscruggs@ADFlegal.org
                                               Counsel for Defendants Robert A. Bonta
13   Brian R. Chavez-Ochoa                     and Shirley N. Weber
14   CA Bar No. 190289
     Chavez-Ochoa Law Offices, Inc.
15   4 Jean Street, Suite 4                    s/ Adam E. Schulman
     Valley Springs, CA 95252                  (authorized 11.8.24)
16   209-772-3013                              Adam E. Schulman
17   brianr@chavezochoalaw.com                 Theodore H. Frank
                                               Hamilton Lincoln Law Institute
18   Counsel for Plaintiffs The Babylon Bee,   1629 K Street NW, Suite 300
     LLC and Kelly Chang Rickert               Washington, DC 20006
19                                             610-457-0856
20                                             703-203-3848
                                               adam.schulman@hlli.org
21                                             ted.frank@hlli.org
22                                             Counsel for Plaintiff Christopher Kohls
23

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1                          UNITED STATES DISTRICT COURT

2                   FOR THE EASTERN DISTRICT OF CALIFORNIA

3     Christoper Kohls,                            Case No. 2:24-cv-02527-JAM-CKD
4
                                Plaintiff,         [PROPOSED] ORDER for
5     v.                                           Briefing Schedule on
                                                   Summary Judgment
6     Rob Bonta, et al.,
7                                                  Judge: John A. Mendez
                                Defendants.
8

9     The Babylon Bee, LLC, et al.

10                              Plaintiffs,
      v.
11

12    Rob Bonta, et al.

13                              Defendants.
14

15         Before the Court are Plaintiff Christopher Kohls, Plaintiffs The Babylon Bee,
16   LLC and Kelly Chang Rickert, and Defendants Rob Bonta and Shirley N. Weber’s
17   joint stipulation for a summary-judgment briefing schedule.
18         The Court ORDERS the following schedule:
19
           1. Plaintiffs shall file their opening summary-judgment briefs of no more
20            than 30 pages each by January 15, 2025.

21         2. Defendants shall file a consolidated cross-motion for summary judgment
              and/or opposition brief of no more than 55 pages by March 12, 2025.
22
           3. Plaintiffs shall each file their respective consolidated opposition and reply
23
              brief of no more than 30 pages by April 11, 2025.
24
           4. Defendants shall file their reply brief of no more than 15 pages by May 2,
25            2025.
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          Case 2:24-cv-02527-JAM-CKD Document 23 Filed 11/13/24 Page 6 of 7


1    It is so ORDERED.

2

3    DATED:     ____________, 2024           _____________________________
                                             The Honorable John A. Mendez
4                                            Senior United States District Judge

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1                                    PROOF OF SERVICE

2          I hereby certify that I filed a true and accurate copy of the foregoing

3    document with the Clerk of Court using the CM/ECF system, which automatically

4    sends an electronic notification to all counsel of record.

5

6
           DATED this 13th day of November, 2024.
7
                                                     s/ Johannes Widmalm-Delphonse
8                                                    Johannes Widmalm-Delphonse
9                                                    Counsel for Plaintiffs The Babylon
                                                     Bee, LLC and Kelly Chang Rickert
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